
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-02-292-CV



EDDIE MCDANIEL	APPELLANT



V.



PENNY NIX AND VANESSA NIX	APPELLEE



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FROM THE 153
RD
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered the “Joint Motion To Dismiss The Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).



PER CURIAM	

PANEL B:	WALKER, HOLMAN, and GARDNER, JJ.

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




